                                                   Case 21-20206-PDR                                   Doc 1      Filed 10/25/21             Page
                                                                                                                                             ... ! 1 of 9
                                                                                                                                              tLi.-· C>l
                                                                                                                                                     •.• ,
                                                                                                                                                !      • "
                                                                                                                                              t/:t(>
                                                                                                                                                     ; ·-i
       r'..1/l 111   t•• ~,   1i./1,n .• ,   >;)   t,,, '1' ,1:Jf\ 1 ,;1   ,     -~ 1
                                                                                                                                              fi,.
                                                                                                                                                    \lCi
                                                                                                                                                 i\f•~
                                                                                                                                                 Ot~·-·
                                                                                                                                                -.:ir.:,:,
                                                                                                                                                 ,!.      t'.:)
                                                                                                                                                [,.) '1'''''4
     Case number (If known): _ _ _ _ _ _ _ _ _ _ Chapter you are filing under:                                                                  u.1,,~
                                                                                                                                                c-.,.,1 •··
                                                                                                •  Chapter?
                                                                                                                                                "'"·'ci
                                                                                                                                                u ..
                                                                                                •  Chapter 11
                                                                                                • jinapterl2                                                           • Check if this is an
                                                                                                fir'"Chapter 13
                                                                                                                                                                          amended filing


    Official Form 101
    Voluntary Petition for Individuals Fillng for Bankruptcy                                                                                                                                   04120
    The bankruptcy forms uae you and Debtor 1 to refer to a debtor filing alone. A married couple may fife a bankruptcy caae together-eafled a
    Joint c:aae-aml In Joint caus, 1heo forms use you to ask for Information from both debtors. For example, if a form asks, "Do you own a car,"
    the &l\8Wer would be yv if either debtor awns a car. When Information Is needed about the epouses uparately, the form uses Debtor 1 and
    o.btor 2 to distinguish between them. In joint casH, one of the spo\.lSes must niport Information as Debtor 1 and the other as Debtor 2. Th&
    same person must be Debtor 1 In all of the forms.
    Be as complete and accurate aa possible. If two married people are filing together, both are equally responsible for supplying correct
    lnfonnatlon. ff more space it needed, attach a separate sheet to this form, On the top of any ~itlonal pages, write your name and cue number
    [ff known). Answer every queetlon.


1111                      tclentify YourMff
                                                                   About Debtor
i 1.      Your full            nam4t

           Write lhe name that is on your
           government-issued picture                                                                                                   . . -lu.Ji.,e__._ _ __
                                                                                                                                       First nan1e
           identfficatlon (for example,
           your driver's licanse or
           pa5$p()rt).
           Bring your picture
                                                                                                                                       Middle  nrr      L
                                                                                                                                            ((Jr, //Jet,_,
           identification to your meeting                                                                                              Last name
           wiltl the trustee.
                                                                   Suffix (Sr., Jr., 11, Ill)                                          Sufiix (Sr.. Jr, II, Ill)


                                                                                                                                                       •-------------=•••l!m~
; 2.
I
           All other names you
          have used in the Int 8
                                                                   _ __...S/Jme_ _ __
                                                                   First name                                                          Fifstname
          years                                                                                                                                                   I(

           Include yoor married or                                 Mlddle name
           maiden names.                                                                                                                                          f/
                                                                   Last name



                                                                   First name

                                                                   Middlenam&


                                                                   Lllst       name                                                    Last <1amo




! a Oniy the Int 4 digits of
                                                                    XXX                                                                XXX       -
           your SOcial Security
           number or federal                                       OR                                                                  OR
           lndivlduat Taxpayer
           ldantffk:ation number                                    9xx - xx - - - _ _ _ _ __                                          9xx - xx - - - - - - - - -

------------------"~-----""""""""Pl•..,$);""'""""9"-~i~-"1'1~•,rmi"~"~™----------•--------
           (lTlN}

    Official Form '\01                                                                Voluntary Petition for Individuals Filing for Bankruptcy                                     page 1
                           Case 21-20206-PDR                      Doc 1         Filed 10/25/21               Page 2 of 9



Debtor 1                                                                                         Case rurrlber ,noow,,,__ _ _ _ _ _ _ _ _ _ _ __



-------------------------------------•=-•,•,l!llll'l"'<~<''______________,___                        About Debtor 2~se0nly In•• Joint CAM):

4.    Any busineaa names
      and Employer                                                                                   •      I have not usoo any busines$ names or EINs.
      Identification Numbers
      (EIN} you have used in
      tha last 8 years            Business name                                                      Business name
                                                                                                                      N} Vf  {

      Include tradtl names and
      doing business as names
                                                                                                     auStness name




                                  Eif:i-



s. Where you live                                                                                    If Debtor 2 llves at a different addreu:



                                                                                                     Number         Street




                                                                                                     City                                 Slate    ZIP Code


                                                                                                     Colmly

                                  lf your malling addreas ls different from the one                  If Debtor 2's mailing addres& ia different from
                                  above, fill it In here. Note that the court will send              yours, fill it in here, Note that the court wiH send
                                  any 11otices to you at this maHing address.                        any nolices to this mailing address,

                                  ~ , _ , e_ __                                                      __S:~tr.~----
                                                                                                     Number         Street
                                  Number           Street


                                  P.OBm                                                              P.O. So,s



                                  Clty                                     state     ZIP C,xle       City                                 Slet<0   ZIP Code




&.    Why you are choosing        Check one.                                                         Check one.
      th/$ dlstrlet to file for
      bankruptcy                  ~ver the last 180 di!y& before filing this petition,               CD'over the last 180 days before filing this petition,
                                         l have lived in lhls district longer than in any              I have 11ved in this district longer than in any
                                         other district.                                               other district

                                  •      I have another reason. Explain.
                                         (See 28 U,S.C. § 1408.)
                                                                                                     D I have another reason. Explain.
                                                                                                            (See 28 U.S.C. § 1408.)




                                                                                                                                 --------·-
     Official Fonn 101                          Voluntary Petition for Individuals Flllng for Bankruptcy                                     page 2
                               Case 21-20206-PDR                    Doc 1       Filed 10/25/21              Page 3 of 9



Debl0f1                                                                                         Case numbert>'>Mwf!),_ _ _ _ _ _ _ _ _ _ __




fH            Teff the Court About Your a-kruptcy Caae


1.      The chapter of the          Check   one.   (For a brief description of each. see Notrce Required by 1 t U.S.C. § 342(b) for frldwiduals Filing
        Bankruptcy Code you         for Bankruptcy (Fom1 2010)). Also. go to the top of page 1 and check the appropriate box.          ·
        are choosing to file
        under                       •    Chapter7
                                    •    Chapter 11
                                    •    Chapter 12

           _ _ _, _ _,..,"'"-~Chapl~~-~""'" ., , -··--"·

a. How you will pay the fee         • I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                         local court for more detans about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier's cneck, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed addres.c;.

                                    ✓,need to pay the fee in installment&. If you choose this option. sign and attach the
                                         Application for Individuals to Pay The Filing Foo in Installments {Official Form 103A).

                                    •    I request that my fee be waived {You may request this optlon only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee. and may do so only if your income is
                                         less than 150%, of the official poverty line that applies to your family size and you are unable to
                                         pay the fee ln installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fn Waived (Official Fom, 103B) and file awith your pe@on.


 11.    Have you flied for
        bankruptcy within the
        last 8 years?



                                                           _ _ _ _ _ _ _ _ _ When               _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                Oi&lrict
                                                                                               MM1 00/YYYY




• 10.   Ara any bankrup~y
        cases pending or being
        flied by a spouse who l&
                                     •   Yes.      Oeb!Of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ R<;~alloost"P to you

        not filing this case with               Distriet _ _ _ _ _ _ _ _ _ Whoo                 _ _ _ _ _ Case nLimi:,er, if l<nowr, _ _ _ _ _ __
        you. or by a business                                                                   MM 100 IYYYY
        partner, or by an
        afflllate?
                                                   Oeblor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you

                                                   District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number, if known _ _ _ _ _ __
                                                                                                MM iDOiYYYY



  11.    Do you nmt your             ,,.l.o.       Go to line 12,
         residence?                  0    Yes. Has your landlord obtained an eviction Judgment agemst you?

                                                   0 No. Go to line 12.
                                                   0   Yes. FU! out Initial Statement About an Eviction Judgment Againsf You (Fann 10·1 A) and file it as
                                                       part of this bankruptcy petition.




       Official Form 101                           Volumary Petition for lodivlduals Filing for Bankruptcy                                     page 3
I.                                      Case 21-20206-PDR                        Doc 1      Filed 10/25/21              Page 4 of 9



                                                                                                           Case number ,if-•l_ _ _ _ _ _ _ _ _ _ _ __




      fHH               Rctport About Anr        ~ You Own a, a Sot. Proprietor
      . 12. Ara you a sole proprietor             ~ - Go to Part 4.
      ·         of any full- or part-time
                business?                         • Yes. Name and location of business
                A sole proprietorship ts a
                business you operate as an
                Individual, and is not a                   Name of bu&ir>ess, if any
                separate klga! entity such as
                a corporation, partnership, or
                LLC.                                       Number       S1reet

                If you have more than one
                sole proprietorship, use a
                separate sheet and attach it
                to this petition.                                                                                   State        ZIP Code
                                                             City


                                                            Check the appropriate bo)( to describe your business:

                                                           •    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            0   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            0   Stockbroker (as defined in 11 U.S.C. § 101{53A))
                                                            •   Commodity Broker (as defined in 11 U.$.C. § i01(6)J
                                                            0    None of the above


          11.   Are you filing under              If you are filing under Chapter 11, the court must !<now whether you are a small business debtor or a debtor
                                                  choosing to procaed under Subchapter V so that it can sat appropriate deadlines. If you indicate that you
                Chapter 11 of the
                                                  are a small bu&iness debtor or you are choosing to proceed under Subchapler V, you must attach your
                Bankruptcy Cod&, and              most recent balance sheet, statement of operations, cash-flow statement. and federal income tax return or
                are you a small business          if an),"f these documents do not exist, follow ttie procedure in 11 l!.S.C. § 1116(1 )(8).
                debtor or a debtor as
                defined by 11 U.S. C. §            fiYNo. I am not tiling under Chapter 11.
                1182(1)?                           0   No. I am fling under Chapter 11, but I am NOT a small business debtor according to the definition in
                For a definition of small                   the Bankruptcy Code.
                businass debtor, see
                11 u.s.c. § 101(510).
                                                   •   Yes. I am filing under Chapter 11, I am a small business debtor 1:1ccording to the definition in the Bankruptcy
                                                            Code, and I do not choose to proceed under Subchapter V of Chapter 11,
                                                   •   Yes. I am filing under Chapter 11, I am a debtor according to the definition In§ 1182(1) of the
                                                            Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11 •




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                                                                Voluntary Petition for Individuals Filing for Bankruptcy                                  page4
                Official Fomi 101
                               Case 21-20206-PDR                  Doc 1         Filed 10/25/21           Page 5 of 9



Debtor 1                                                                                     r~1se nu,nt>flr t11(:-!'o>'I-M'l'~,_ _ _ _ _ _ _ _ _ _ __




 14.   Do you own or have any
       property that pons or Is
       alleged to pose a threat          •   Yes. What is the hazard?
       of lmmhwnt and
       ldenttflable hazard to
       publtc health or safety?
       Or do you own any
       property that nffds                        If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       lmmed1ate attention?
       For example, do you own
       perishable goods, or ltvestook
       that must be fed, or a building
       that llffda urgent repairs?
                                                  When is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                         Number         Street




                                                                         City




                                                   Voluntary Petition for l ndlvlduals Filing for Bankruptcy                               page 5
       Official Form   101
                                Case 21-20206-PDR                      Doc 1         Filed 10/25/21              Page 6 of 9



Debtor 1




              Explain Yoar Efforts to -.0.lve a Bf'leflng About Credit CounaeUng

                                                  Otbtot1:                                                About Debtor 2 (Spo._. Only in a Joint Cau):
1s.   Tell the court whether
      you haw nteelved a
      brfeflng about credit             You ,?1st check one:                                              Vov must check one.
      counseling.                       ~ received a brleffng from an approved credlt
                                            counHtlng agency within the 180 days before I
                                                                                                          •    I received a briefing from an approved crvdit
                                                                                                               counseling agency within the 180 days before I
      The law requires that yoo             ffled this bankruptcy P41titton, and t received a                  filed this bankruptcy petition, and I received a
      receive a briefing about credit       certificate of completion.                                         certificate of completion.
      counseling before yoo file ror
                                            Attach a copy of the certificate and the payment                   Altach a copy of the certificate and the payment
      bankmptcy. Youmust                                                                                       plan, if any, that you developed with the agency.
                                            plan, if any, that you developed with the agency.
      truthfully check one of the
      following chotees. If you
      cannot do $0, you 8fe not
                                        •   I received a briefing from an approved credit
                                            counseling agency within the 180 days bafore I
                                                                                                          •    I received a briefing from an approved credit
                                                                                                               counseling agency within the 180 days before I
      ellg!bltl to (de.                     flied this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                            certificate of completion.                                         certificate of completion.
      If you file anyway, the court         Within 14 days after you me this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you                                                                               you MUST file a copy of the certificate and payment
                                            you MUST file a mpy of the certificate and payment
      will loae whatever filing fee         plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collectlon activities
      again.
                                        •   l cartlfy that I asked for credit counseling                  •    I certify that I asked for credit counseling
                                            urvlca. from an approved agency, but was                           servk:es from an approll'ed agency, but was
                                             unable to obtaln those servtces during the 7                      unable to obtain those services during the 7
                                            days attar I ma my request, and exigent                            days after I made my rvqueat, arid exigent
                                            ctrcumstances merit a 30-day temporary waiver                      clrcumstanc&S merit a'30-day temporary waiver
                                            of the requirement.                                                of the requirement.
                                            To ask for a 30-day temporary 'Waiver of the                       To ask for a 30-day tempo~ waiver ot the
                                            requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, Ylly
                                            yoo were unable to obtain it before you filed for                  you were unable to obtain it before you fited for
                                            bat'lkruptcy, and what exigent cif'Cl.llnatances                   bankruptcy, and what exigent circumstances
                                              required you lo me !hls case.                                    required you to me this case.

                                              Your case may be dismissed if the court is                       Y<lur case may be dismissed if the court is
                                              diSsatiSfled w,h your re8$00S for oot receiving a                dissatIsfted with your reasons for not receiving a
                                              briefmg before you f~ed for bankruptcy.                          briefing before you tied for bankruptcy.
                                              If the court is saUsfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                              stil receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file,
                                              You must file a certlfieate from the approved                    You must fie a certificate from the app!'O\led
                                              agency, along with a copy of the payment plan you                agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                developed, if any. If you do nol do so, your case
                                              may be dismissed,                                                 may be dism,ssed.
                                              Any exteosiOn of the 30-day deadline is granted                  Any extension of the 3(k:lay deadline ts granted
                                              only for cause and is limited to a maximum of 15                  only for cause and ls limited to a maximum of 15
                                              days.                                                             days.

                                        •     I am not required to receive a briefing about                •    I am not required to receive a briefing about
                                              credit counseltng because of:                                     credit counseling because of:

                                              •    Incapacity, I have a mental illness or a mental              •   Incapacity. I have a mental Hlness or a mental
                                                                                                                                   deficiency that makes me
                                                               deficiency that makes me
                                                               incapable of realizing or making                                    incapable of realizing or making
                                                                 rational decisions about finances.                                rational der..isionS   aoout finances.
                                              •    Disability.   My physical disability causes me               •   Disability.    My pf;lySical disability causes me
                                                                                                                                   to be unable to participate in a
                                                                 to be unable to participate in a
                                                                 briefing in person, by phone, or                                  briefing in persc,n, by phone. er
                                                                 through the internet, even after I                                through th$ Internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.

                                               •   Active duty. I am currently on active military               •   Aetlve duty. I am currently on acttve military
                                                                                                                                    dllty in a militaty combat zone.
                                                                  duly it1 a mffitary combat zone.
                                               If you believe you are not required to re<'.eive a                If you believe you are not required to receive a
                                               brief111g about credit counseling, you must file a                briefing aoout c-.mdit counseling, you must file a
                                               motiol'l for wai,er of credit counseling with the court.          motion for waivl:lf of credit counseling with th& court.




                                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
      Official Fmm 101
                                                Case 21-20206-PDR                                           Doc 1                 Filed 10/25/21                             Page 7 of 9



    Debtor 1                                                                                                                                              Case numoer(lf/;r,qwoi_ _ _ _ _ _ _ _ _ _ _ __




HI•                  Amlwer          ~.. Gu••tlons tor Reporting PurpoHs
    11. What kind of debts do                                 18a.    Are your debts primarily consumer debts? Consumer debts are defined in 11                                                                      u.s.c. § 101(8)
                                                                      as "incurred by an indMdual primarily for a persona!, famHy, or household purpose."
          you have?
                                                                      • )lo. Go lo line 16b.
                                                                      ClirYes. Go to hne 17.
                                                              i6b. Are your debts primarily business debts? Busin&ss debts are debta that you incurred to obtain
                                                                   money for a t>usiness or investment or through the operation of the t>usiness or investment.
                                                                      •     No. Go to line 16c.
                                                                      0 Yes. Goto line 17.
                                                              16c. State the type of debts you owe !hat are not consumer debts or t>usi ness debts.


    11.   Are you filing under
.         Chapter??                                           ~o. I am not filing under Chapter 7. Go to line                                     18.

          Do you estimate that after                          •     Yes. I am filing under Chapter 7, Do you estimate that after any exernpt property ls exr;luded an<!
          any exempt property is                                         administratilftl expenses are paid t11at funds will be available to distribute lo unsecured creditors?
          •xcluded and
          admlnlatratM• expenses .
                                                                            •      No

          are paid that funds wHI be                                        •     Yes
          available for distribution
          to unaecured creditors?

• 1a. How many creditors do                                   ii<.49                                                      •     1,000-5.000                                                   •    25,001-50,000
      you estimate that you                                  •      50-99                                                 •     5,001-10,000                                                  •    50,001-100.000
          owe?                                               •      100-199                                                0    10,001-25,000                                                 •    More than 100,000
                                                             •      200-999

    1t. How much do you                                       •   SO-SS0,000                                               D    $1,000,001-$10million                                         • $500,000,001-$1 billion
          estimate your assets to                             •   $50,001-$100,000                                        •     $10,000,001-$50 million                                       • $1,000,000,001-$10 biUion
          beworth7                                            0 }100,001-$500,000                                          D    $50,000,001-$100 mithon                                       • $10,000,000,001-$50 biH1on
            ·---------,..                                     CB' S500,001-$1 miflion
                                                            ,.__,_,._
                                                                                                        •
                                                                                                   ·-----                       $100,000,001-SSOO million                                     • More than $50 bdl!on
    20.   How much do you                                     •  $0-$50,000                             • $1,000,001-$10 milf:on                                                              • $500,000,001-$1 billion
          estimate your liabilities                           •  $50,001-$100,000                                          D $'10,000,001-$50 million                                         • $1,000,000,001-$10 bi!Hon
          to be?                                              Ofi100,001-$5oo.ooo                                         •     $50.000,001·$100 million                                      • $10,000,000,001-$50 billion
                                                              if $500,001-$1 mHlion                                        D                                                                  • More than $50 billion
'"'* . .
                                                                                                                                $100.000,001-$500 million


                                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                   Below                           correct.                                                                                                                                                  ·
                                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Ct1apter 7, 11,12, or 1a
                                                              of title 11, United States Cock>. I understand the relief a'/8llable under each chapter, aoo I choose to proceed
                                                              un<ler Chapter 7.
                                                              If no attorney rep, e&ents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                              this doet.ment, I "lave obtained and read the notice requiroo by 11 U.S.C. § 342{b).
                                                              I ,.quest relief in accordance with the chapter of title 1i, United States Code, specified in this petition.
                                                              I un<lerstand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                              with a bankruptcy case can result in fines up to $250,000, or impusonment for up to 20 years. or both.
                                                              : U - ~ , ; : 1 , 1519. and 3571.                                                                       ~

                                                                     ~~---
                                                                    Signature of Debtor 1
                                                                                                  ~                                                              x~~ ~Signature of Debtor 2

                                                                    Executed on iD-'"2:2--7.-1                                                                        Executed on               f 0-~ZL
                                                                       MM I 00 /YYYY                                                                                                                     MM I DO IYYYY
- - - - - - - - - - - - l l l l l ( l l l l i l l l l i <_ _ _,...._ _...
                                                                       , ...!ll!Oboo;rllllitfft;IIIW_ _ _,..,H.......,....-l.'!'t~~~!l~,...
                                                                                                                                        ll!llll!ll
                                                                                                                                              _ _........,...,...                                mnllllll_.............,"',H:l!ill!JHIWl.-i1'l!.- - - - - - - -
                                                                                                                                                               !_ _..,,...,ffiliffflft!ffil!Oi·,...


      Official Form 101                                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          page7
                           Case 21-20206-PDR                     Doc 1     Filed 10/25/21             Page 8 of 9



                                                                                         Case number f # • ' - " ) ' - - - - - - - - - - - - - -




  For you if you are fifing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you
• bankruptcy without an            should und.arstand that many people find it extremely difficult to represent
• attomey                          themselves successfully, Because bankruptcy has long-term financial and leg.al
                                   consequences, you are strongly urged to hire a qualified attorney.
 If you are represented by
 an attorney, you do not           To be successful, you must correctly file and handle your bankruptcy case. The rules are very
 need to file this pag,.           technical, and a mistake or inaction may affect your rights. For example, your case may be
                                   dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                   hearing, or cooperate with the c-..ourt, case trustee. U.S. trustee, bankruptcy administrator, or audit
                                   firm if your case ls selected for audit. If that happens, you could lose your right to file another
                                   case, or you may lose protections, including the benefit of the automatic stay.
                                   You must list all your property and debts in the schedules that you are required to file with the
                                   court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                   in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                   property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                   also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                   case, such as destroying 1)r hiding property, falsifying records, or lying. Individual bankruptcy
                                   cases are randomly audited to determine if debtors have been accurate. truttlful,,and complete.
                                   Bankruptcy fraud la a serious crime; you could be fined and Imprisoned.

                                    If you decide to flle wil.hout an attorney, the court expects you to follow the rules as if you had
                                    hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                    successtu:, you mus I be familiar with the United States Bankruptcy Code. the Federal Rules of
                                    Bankruptcy Procedure. and the local rules of the court in which your case is flied. You must also
                                    be fammar with any state exemption laws that apply.

                                    Are you aware that tiling for bankruptcy is a serious action with long-term financial and legal
                                    consequences?


                                    ~
                                    Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                    inaccurate or incomplete, you could be fined or imprisoned?

                                    • J40
                                    0"ves
                                    Dio/l'ou pay m agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                    151 No
                                    •     Yes. Name of Person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--::-:::-~=--:-:-:::-
                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature {Official Form 119),



                                    By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                    have read and understood this notice, and I am aware that filing a bankmptcy case without an
                                    attorney may cause me to lose my rights or property if I do not properly handle the case.


                                   x-lfl);;_:::::,
                                        S,gnatvre of Dehtt>r 1
                                                                                               x t'~&P!-~
                                                                                                    Signature of Debtor 2

                                     Date             iO--C..~'<..,f .                              Date            .,o:-z..-cJZ/
                                                      MM/ DD     IYYYY                                               MM/ DD IYYYY

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                                              Voluntary Petition tor Individuals Filing for Bankruptcy                                page 9
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           Case 21-20206-PDR   Doc 1   Filed 10/25/21    Page 9 of 9




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